Case 9:07-cV-80680-KLR Document 6 Entered on FLSD Docket 09/11/2007 Page 1 of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 9:07-CV-80680-RYSILAMP/VITUNAC

INFINITY GLOBAL LLC, a
Delaware limited liability company,

Plaintiff,
vs.
RESORT AT SINGER ISLAND
PROPERTIES, INC., a Florida corporation,
2\llr;((i)l COMMUNITIES, INC.,

a Delaware corporation,

Defendants.
/

DEFENDANT WCI COMMUNITY INC.’S
M()TION TO DISMISS THE COMPLAINT AND
INCORPORATED MEMORANDUM OF LAW
Defendant WCI Communities, Inc. (“WCI”), pursuant to Fed.R.Civ.P. 12(b)(6) and S.D.
Fla. L.R. 7.1, moves the Court to dismiss Plaintiff s Complaint as to WCI with prejudice The
grounds for this motion are stated with more particularity in the following Memorandum of Law.
MEMORANDUM OF LAW
Introduction
On September 30, 2004, Plaintiff agreed to speculatively invest in two luxury
condominium units from Resort, which are the subject of this lawsuit Plaintiff, a sophisticated
real estate investment LLC entered into two contracts outlining in detail the nature of the
property being sold and the terms of the purchase. By signing these contracts, Plaintiff

acknowledged that Resort would be damaged by its failure to close, and expressly agreed to

forfeit its deposit, with interest, to pay for this damage. Plaintiff has refused to close on the

12142980.1

Case 9:07-cV-80680-KLR Document 6 Entered on FLSD Docket 09/11/2007 Page 2 of 19

condominium purchase. It therefore forfeited the deposit to Resort, as agreed. Nonetheless, on
July 31, 2007, Plaintiff filed this action seeking to avoid the legal effect of the contracts it
willingly signed. Although the complaint contains class allegations, Plaintiff has not complied
with the rules concerning class actions; therefore, this action cannot be considered a putative
class action.

I. ALLEGATIONS IN THE COMPLAINT

Almost three years have passed since Plaintiff, a real estate speculation LLC, agreed to
purchase two multi-million dollar condominiums from Resort. After refusing to close on the
purchases due to the downturn in the Florida condominium market and realizing that it would be
required to pay its deposits as damages for this breach of contracts, Plaintiff now alleges that it
was somehow misled at the time it entered into the contracts.

Plaintiff alleges that Resort, acting as an “agent or alter ego of WCI,” violated the
Interstate Land Sales Full Disclosure Act, 15 U.S.C. § 1701 et seq., by committing various
misleading and deceptive acts during the condominium sales transaction three years ago. Compl.
1[1] 21-69. Plaintiff thereby seeks to hold WCI liable for the acts of its subsidiary, Resort. WCI
was not a party to Plaintiff’s condominium purchase contracts, and Plaintiff does not allege that
he had any contact with WCl in the course of his transaction.

Specif`lcally, Plaintiff alleges that “Resort/WCI” violated ILSA by by l) charging interest
during a “cure” period after the purchaser breaches the sales contract by failing to close; 2)
stating in the contract that an affiliated title insurance company charges the “minimum rate
promulgated by the Florida Department of Insurance”; 3) requiring a purchaser to sign a release
in connection with the refund of the purchaser’s deposit; 4) providing Plaintiff with an updated

estimated assessment budget showing that Plaintiff would be charged the same total assessments

12142980.1 2

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 3 of 19

as reflected in the original estimated assessment budget; 5) delivering one page of a fifty-four
page property report to Plaintiff one week after the fifty-three pages had been given to it; and 6)
enforcing the liquidated damages provision of the contract Compl. 1111 21-69.

Plaintiff also alleges that the exact same conduct, all of which occurred in the context of
Plaintiff s transaction with Resort, violated the Florida Deceptive and Unfair Trade Practices Act
(“FDUTPA”). Compl. 1111 70-99. Plaintiff inexplicably asserts this FDUTPA claim only against
WCI, which had no actual involvement in Plaintiff’ s transaction. Id. at 11 81.

Interestingly, Plaintiff does not allege that it was charged or actually paid any interest at
all for the period after it breached the contract by refusing to close. Plaintiff does not, and
cannot, allege that it actually purchased any title insurance with respect to the contracts at issue
in this case, since it did not close on the purchase of those condominiums Nor does Plaintiff
allege that it, or anything else, was actually charged a greater amount for assessments than the
assessments listed in the estimated budget.

There are also no allegations in the Complaint explaining why Plaintiff only now asserts
that these terms in the contracts_which were in the contracts at the time it signed them three
years ago-were “misleading.” Plaintiff had ample opportunity to read the contracts, understand
its terms, and object or rescind the contracts Plaintiff did not do so and cannot now seek to
avoid its obligations under the contracts simply because there has been a downturn in the Florida
condominium market and it does not want to forfeit its deposit as it agreed in the contracts.

II. STANDARD ON MOTION TO DISMISS

The United States Supreme Court recently clarified the standard for motions to dismiss

brought under Fed. R. Civ. P. 12(b)(6) in Bell Atlantz'c Corp. v. Twombly, 127 S. Ct. 1955 (2007)

(abrogating Conley v. Gibson, 355 U.S. 41 (1957)).

12142980.1 3

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 4 of 19

The Twombly Court expressly rejected the “no set of facts” standard previously relied
upon by many federal courts, holding that “[a]fter puzzling the profession for 50 years, [the ‘no
set of facts’ standard] has earned its retiremen ” and is “best forgotten.” Id. at 1969. The Court
held that “a plaintiff s obligation to provide the grounds of his entitlement to relief requires more
than labels and conclusions, and a formulate recitation of the elements of a cause of action will
not do. Factual allegations must be enough to raise a right to relief beyond a speculative level.”
Id. at 1964-1965 (internal quotations, alterations, and citations omitted). Rather, Twombly
requires that a plaintiff allege “enough facts to state a claim to relief that is plausible on its face.”
Id. at 1974. Something beyond “the mere possibility” of a claim must be alleged “lest a plaintiff
with ‘a largely groundless claim’ be allowed to ‘take up time of a number of other people, with
the right to do so representing an in terrorem increment of the settlement value.” Icl. at 1966.

The Complaint here fails to satisfy the Twoml)ly standard with regard to any substantive
count asserted and, as such, the Complaint should be dismissed. Specifically, Plaintiff fails to
state a claim against WCI’s with respect to Plaintist transaction with Resort, a transaction in
which WCI did not participate
III. ARGUMENT

A. WCI Is Not Liable For The Acts Of Resort

Plaintiff alleges that various aspects of its transaction with Resort were deceptive and
misleading in violation of both ILSA and FDUTPA. Plaintiff also alleges, without factual
support, the mere conclusion that during the transaction, Resort was acting as the “agent or alter
ego” of WCl. Pursuant to these unsupported allegations, Plaintiff seeks to hold WCI liable for

the alleged violations of ILSA committed by Resort, and also seeks to impose liability on WCI

12142980.1 4

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 5 of 19

for these exact same acts under FDUTPA. However, there is no basis for holding WCI liable for
the transaction entered into by Resort.

Resort is a subsidiary for WCI. Each is a separate and distinct corporate entity. “It is a
general principle of corporate law deeply ingrained in our economic and legal systems that a
parent corporation . . . is not liable for the acts of its subsidiary.” United States v. Bestfoods, 524
U.S. 51, 61 (1998) (internal quotation marks omitted). The reason for this is that a parent and
subsidiary are distinct legal entities and are entitled to be treated as such for purposes of liability.
Io’.; see also Molenda v. Hoechst Celanese Corp., 60 F.Supp.2d 1294, 1300 (S.D. Fla. 1999)
(stating that “the well-settled rule is that a corporation is a separate legal entity and, thus, that
separate corporate form cannot be disregarded”). Due to the importance of this principle, courts
hold parent companies liable for the acts of their subsidiaries only under very limited
circumstances Molena’a, 60 F. Supp. 2d at 1300 (“In Florida, a corporate veil will be pierced
only in exceptional circumstances, such as for fraud or where the corporation is formed for some
illegal purpose.”). Eclipse Medical, Inc, v. American Hya'ro-Surgical Instruments, Inc., 262
F.Supp.2d 1334, 1359 (S.D. Fla. 1999) (stating that “a parent corporation will not be held liable
for the actions of its subsidiary unless the subsidiary is deemed to be a mere instrumentality of
the parent”) (quoting Federated Title Insurers, [nc. v. Ward, 538 So.2d 890, 891 (Fla. 4th DCA
1989)).

To justify a departure from the well-established rule that distinct business entities should
be treated separately, Plaintiff must do more than simply allege that a subsidiary is a “mere

99 66

instrumentality, agent,” or “alter ego” of a parent. See e.g. Spanish Broadcasting System, Inc.
v. Clear Chcmnel Communications, Inc., 242 F.Supp.2d 1350, 1363 (S.D. Fla. 2003) (dismissing

complaint where plaintiff did not allege that the subsidiary “was a sham or mere instrumentality

12142980.1 5

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 6 of 19

for [the parent] to engage in illegal or improper activities”); Maung Ng We & Massive Atlantic
Ltd. v. Merri`ll Lynch & Co., Inc., No. 99 Civ. 9687 (CSH), 2000 WL 1159835, *9-10 (S.D.N.Y.
Aug. 15, 2000) (dismissing complaint where there were no facts alleged to establish that
subsidiary was acting on account of the parent); Jean Anderson Hierarchy of Agents v. Allstate
Life Ins. Co., 2 F. Supp. 2d 688, (E.D. Pa. 1998) (dismissing complaint where no facts were
alleged to suggest parent corporation was alter ego and thus liable); Warburton v. Foxtons, Inc.,
No. Civ. A. 04-2474(FL\W, 2005 WL 1398512, *8 (D.N.J. June 13, 2005) (dismissing complaint
where there were no allegations supporting an alter ego theory that parent had abused the
privilege of incorporation by using the subsidiary to perpetrate a fraud or inj ustice).

Similarly, mere allegations that the parent and subsidiary have directors in common are
insufficient to sustain a plaintiffs burden on a motion to dismiss since “it is entirely appropriate
for directors of a parent corporation to serve as directors of its subsidiary.” Bestfoods, 524 U.S.
at 61. The reason for this rule is that “directors and officers holding positions with a parent and
its subsidiary can and do ‘change hats’ to represent the two corporations separately, despite their
common ownership.” Id. Thus, a plaintiff must do more than merely allege that a parent and
subsidiary have directors in common to survive a motion to dismiss. Akzona Inc. v. E.I. Du Pont
De Nemours & Co., 607 F.Supp. 227, 240 (D.C. Del. 1984) (granting motion to dismiss for lack
of personal jurisdiction over parent company in spite of allegations of common directors); cf
Meterlogic, Inc. v. Copier Solutions, Inc., 126 F. Supp. 2d 1346, 1358 (S.D. Fla. 2000) (stating
that “the sharing of a business address and the overlap of officers is insufficient to support a
finding that the subsidiaries are the alter ego of their corporate parents”); Greene v. Long lsland
R. Co., 280 F.3d 224 (2d Cir. 2002); Pearson v. Component Technology Corp., 247 F.3d 471 (3d

Cir. 2001).

12142980.1 6

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 7 of 19

Here, Plaintiff s bare allegations that Resort “was the agent or alter ego of WCI” and that
“Resort and WCI share three common members (six member boards) of the respective board of
directors,” (Compl. 1111 6-7), are insufficient as a matter of law to justify holding WCI responsible
for Resort’s actions. The Complaint must therefore be dismissed as to WCI.

B. Plaintiff Fails To State A Claim Against WCI Arising From WCI’s Own
Conduct

To the extent Plaintiff seeks to hold WCI liable for its own acts, as opposed to the acts of

Resort, the Complaint also must be dismissed as to WCI.
1. WCI Is Not The Developer And Therefore Is Not Liable Under ILSA

The underlying purpose of ILSA is to ensure that a buyer, prior to purchasing certain
kinds of real estate, is informed of facts which will enable him or her to make an informed
decision about purchasing the property. The Act is designed to protect “purchasers” from abuse
by real estate “developers” or their “agents.” Paniaguas v. Aldon Cos., Inc., No. 2:04-CV-468-
PRC, 2005 WL 1983859, at *4 (N.D. Ind. Aug. 17, 2005); Gil)l)es v. Rose Hill Plantation Dev.
Co., 794 F.Supp. 1327, 1333 (D.S.C. 1992). Therefore, to qualify for protection under ILSA, a
plaintiff must show that he or she purchased a lot from a defendant who qualifies as a developer
or developer’s agent. Icl.

ILSA defines a “developer” as “any person who, directly or indirectly, sells or leases, or
offers to sell or lease, or advertises for sale or lease any lots in a subdivision.” 15 U.S.C.
1701(5). Under section 1701(6), “agent” means “any person who represents, or acts for or on
behalf of, a developer in selling or leasing, or offering to sell or lease, any lot or lots in a
subdivision; but shall not include an attorney at law whose representation of another person

consists solely of rendering legal services.”

12142980.1 7

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 8 of 19

These statutory definitions limit ILSA causes of action to entities that are involved in the
sales process of the lot at issue. Bartholomew v. Northampton Nat. chk of Easton, Easton, Pa.,
584 F.2d 1288, 1293 (3d Cir. 1978) (stating that “1ogically the statute should be interpreted to
include within its scope only those engaged in the selling effort”); Adema v. Great Northern
Development Co., 374 F.Supp. 318 (N.D. Ga. 1973) (holding that lender that “never supervised
or engaged directly or indirectly, in any advertising, development or sales activities” in the
subdivision and did not make any representations, accurate or otherwise, to plaintiff was not a
developer). Therefore, an entity that has no involvement in a plaintiffs sale must be dismissed
from a complaint alleging violations of ILSA, Paniaguas, 2005 WL 1983859 at *5 (dismissing
complaint as to entity where the complaint alleged that the plaintiffs purchased the lots in
question from a different company, the plaintiffs dealt only with that other company, and there
was no involvement by the entity in the transaction).

Here, Plaintiff does not, and cannot, allege that WCI was involved in the sales process by
which Plaintiff bought the condominium at issue. Plaintiff implicitly acknowledges that there is
no basis for holding WCI liable as a “developer” for Resort’s transaction with Plaintiff by
awkwardly alleging that “[d]efendant(s) is(are) a developer.” Compl. 11 22. All of the allegations
in the Complaint concerning WCI’s involvement in Plaintiffs transaction refer to “Resort/WCI”
and are therefore based on Plaintiffs theory that Resort is the “agent and alter ego” of WCI, not
on any conduct actually engaged in by WCI. ln addition, it is plain on the face of the contract
attached as Exhibit A to the Complaint that WCI was not a party to Plaintiffs transaction The
Complaint is devoid of any allegations that WCI itself ever had any contact with Plaintiff, or
participated in any way in the sale of Plaintiffs condominium Therefore, WCI is not a

“developer” as defined under ILSA, and the ILSA cause of action must be dismissed as to WCI.

12142980.1 8

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 9 of 19

2. Plaintiff’s FDUTPA Claim Against WCI Must Be Dismissed
a. This Court Lacks Jurisdiction Over Plaintiff s FDUTPA Claim
Because Plaintiff fails to state a cause of action against WCI under ILSA, there is no
jurisdictional basis for this Court to consider Plaintiffs FDUTPA claim against WCI. Although
Plaintiff does not specifically state the jurisdictional basis for its FDUPTA claim, it appears that
Plaintiff relies on the concept of supplemental jurisdiction in 28 U.S.C. § 1367. Section 1367(a)

states:

[I]n any civil action of which the district courts have original jurisdiction,
the district courts shall have supplemental jurisdiction over all other
claims that are so related to claims in the action within such original
jurisdiction that they form part of the same case or controversy under
Article lIl of the United States Constitution.
When a federal court dismisses the claims on which its original jurisdiction are based, the court
must decline to exercise supplemental jurisdiction over state law claims. Barcena v. Dept. of
Ojj”~Street Parking of Ciiy of Miami, 492 F.Supp.2d 1343, 1358 (S.D. Fla. 2007).
Here, Plaintiff asserts that the basis for this Court’s original jurisdiction is 28 U.S.C. §
1331 since it is asserting a claim pursuant to ILSA, a federal statute. However, because
Plaintiffs ILSA claims against WCI fail as a matter of law, this Court lacks supplemental
jurisdiction over Plaintiff s FDUTPA claim against WCI.
To the extent this Court considers Plaintiffs FDUTPA claim, however, it is governed by
Florida state law. McDowell v. Brown, 392 F.3d 1283, 1294 (1 lth Cir. 2004) (“Because the

district court exercised supplemental jurisdiction over these claims when it was removed from

state court, state law governs substantive issues and federal law governs procedural issues.”).

12142980.1 9

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 10 of 19

b. Plaintiff Was Not Aggrieved By Any Statements In the
Contract

FDUTPA prohibits “[u]nfair methods of competition, unconscionable acts or practices,
and unfair or deceptive acts or practices in the conduct of any trade or commerce.” § 501 .204(1),
Fla. Stat. The stated purpose of FDUTPA is to “protect the consuming public and legitimate
business enterprises from those who engage in unfair methods of competition, or
unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”
§ 501.202(2), Fla. Stat. (2007). Deception “occurs if there is a representation, omission, or
practice that is likely to mislead the consumer acting reasonably in the circumstances, to the
consumer's detriment.” Merrill Lynch Business Financial Services, Inc. v. Performance Machine
Systems U.S.A., Inc., No. 04-60861-CIVMARTINEZ, 2005 WL 975773, *8 (S.D. Fla. 2005). A
practice is "unfair" when it offends established public policy and when the practice is immoral,
unethical, oppressive, unscrupulous or substantially injurious to consumers Io’.

To state a cause of action under FDUTPA, a consumer must allege sufficient facts to
show he was actually aggrieved by an unfair or deceptive act committed by the seller in the
course of trade or commerce. Merrill Lynch Business Financial Services, Inc. v. Performance
Machine Systems U.S.A., Inc., No. 04-60861-CIVMARTINEZ, 2005 WL 975773, *8 (S.D. Fla.
Mar. 4, 2005). A plaintiff must do more than merely allege in a conclusory fashion that a
defendant’s actions constituted an “unfair or deceptive act” or that the defendant acted
“wrongfully, unreasonably and unjustly” and for a “deceptive and improper purpose.” Merrill
Lynch Business Fincmcial Services, Inc., 2005 WL 975773, at *8. In other words, a plaintiff
must specifically allege why the defendant’s conduct was unfair or deceptive and why he was

aggrieved by that conduct.

12142980.1 10

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 11 of 19

i. Plaintiff Fails To Allege Why The Estimated Date Of
Completion Is Misleading

Plaintiff alleges that the inclusion of an estimated completion date for the condominium
is “illusory” and “substantially injurious to consumers.” However, Plaintiff offers nothing more
than conclusory allegations and fails to allege why an estimated completion date, fully described
within the contract between the parties, is misleading The contract specifically addresses the
parties’ understanding of the completion date for the Unit and specifically indicates that such
completion date might be modified:

D. The estimated date of completing, construction, finishing and

equipping the unit and common elements of the Condominium is

December 15, 2005. This date is only an estimate and may be effected by

weather, acts of God, availability of materials and other factors known and

not yet known.
Thus, the contract language itself makes it clear that the estimated date of completion may
change, and Plaintiffs conclusory allegations are insufficient to establish that this contract term
is deceptive. Merrill Lynch Business Financial Services, Inc., 2005 WL 975773, at *8
(dismissing claim where plaintiff merely alleged that conduct was wrongful, unjust or
unreasonable); D.U.P. Investments, Inc. v. Oakland Hz`lls Joint Venture, 909 So. 2d 355, 356
(Fla. 4th DCA 2005) (“[a] party may not recover for fraud for an alleged false statement when

proper disclosure of the truth is revealed in a written agreement between the parties”).

ii. Plaintiff Fails To Allege Why The Contract Is
Misleading

Plaintiff s FDUTPA claims against WCI are primarily based on the allegation that WCI

drafted the contract that was used in Plaintiffs transaction.1 As set forth previously, WCI is not

 

l Plaintiff also alleges that “WCI’s violations of ILSA are per se violations of" FDUTPA. As stated above,
however, WCI 1) is not liable for Resort’s alleged conduct that violated ILSA, and 2) is not a “developer” and is
therefore not liable under ILSA on any theory. Therefore, there are no “violations of ILSA” that could possibly
form the basis of a per se FDUTPA claim against WCI.

12142980.1 11

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 12 of 19

a party to this Contract. Nonetheless, Plaintiff alleges that the statement included in Exhibit C to
the contract that Resort’s affiliate title insurance company charges the “minimum rate
promulgated by the Florida Department of Insurance” is misleading in violation of FDUTPA and
15 U.S.C. 45(a) against WCl. Speciflcally, Plaintiff alleges that it was “mislead by the written
contract into believing that the rate charged by [Defendant’s] affiliated business is the bare
minimum available charge as allowed by Department of Insurance.” Compl. 1[ 46. However, the
statement that Resort’s affiliate First Fidelity Title (“FFT”) charges “minimum rate promulgated
by the Florida Department of Insurance” is not untrue, nor did Resort omit any facts regarding
title insurance rates necessary to make its disclosure concerning title insurance rates not
misleading.

The Florida Financial Services Commission (the “Commission”) sets the specific rates to
be charged for title insurance, including the amount to be retained by the insurer and agent. §
627.782(1), Fla. Stat. (2007) (the Commission “must adopt a rule specifying the premium to be
charged in this state by title insurers for the respective types of title insurance contracts and, for
policies issued through agents or agencies, the percentage of such premium required to be
retained by the title insurer which shall not be less than 30 percent”). It is illegal for any title
agent to charge an amount different than those set in the rate schedule promulgated by the
Commission. Fla. Stat. 627.78(1) (stating that “[a] person may not knowingly quote, charge,
accept, collect, or receive a premium for title insurance other than the premium adopted by the

commission” .

12142980.1 12

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 13 of 19

The rates adopted by the Commission are listed in Florida Administrative Code Rule

690-186.003, which provides that the premium charged for an original owner’s title insurance

policy “shall be:”2

Per Thousand Minimum
[of Insurance]3 Insurer

From $0 to $100,000 of liability written $5.75
From $100,000 to $1 million, add $5.00
Over $1 million to and up to $5 million, add $2.50
Over $5 million and up to $10 million, add $2.25

Over $10 million, add $2.00

Retention
30%

30%

35%

40%

40%

Rule 690-186.003(1)(a)(1) also specifies certain minimum premiums to be charged:

b. The minimum premium for all conveyances except multiple

conveyances shall be $100.

c. The minimum premium for multiple conveyances on the same property

shall be $60.

2. In all cases the owner's policy shall be issued for the full insurable value

of the premises

(emphasis supplied).

Although Plaintiff claims that it was mislead because it could have paid less for title

insurance if it had received a rebate, Plaintiff expressly acknowledges that a rebate is not actually

a part of the rates promulgated by the Department: “[a] prospective purchaser could have

obtained a rate less than the amount promulgated bv the Florida Department of Insurance with a

 

2 The contract attached to the complaint makes it clear that owners’ title insurance policy is at issue.

3 The Rule specifies that “[t]o compute any insurance premium on a fractional thousand of insurance (except as to
minimum premiums), multiply such fractional thousand by the rate per thousand applicable, considering any

fraction of$100.00 as a full $100.00.”

12142980,1 13

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 14 of 19

title company not affiliated with [Defendants] by receiving a rebate of the title agent’s portion of
the risk premium.” Compl. 11 32.

The Florida Supreme Court’s decision in Chicago Title Insurance Co. v. Butler, 770 So.
2d 1210 (Fla. 2006), supports the conclusion that the rebate referred to by Plaintiff is not part of
the “minimum rate” set forth in Rule 690-186.003. In Butler, the Florida Supreme Court
declared unconstitutional certain portions of the Insurance Code which prohibited title insurance
agents from rebating any portion of the premium rates they received to repeat customers Thus,
the Court held that once the rates set by the Commission are properly charged, an agent is free to
attempt to negotiate to have its portion of that rate_which is set by rule at seventy percent of the
premium charged_returned by rebate. Such a rebate is not a “rate” specifically set by any
statutory or regulatory authority, and a title insurance agent is not obligated to offer a rebate.

Moreover, there was no material omission concerning title insurance rates As a
preliminary matter, there is no general duty to disclose the lowest possible prices for title
insurance, especially in this type of an arms-length transaction where Defendant is not even an
insurance company. See Oa’en v. First Floridian Auto & Home Ins. Co., No. 02-CA-3244-JT,
slip op. at 2 (Fla. Cir. Ct. Dec. 5, 2003) (finding “there is no duty to disclose to Plaintiff or other
customers the lowest available prices for automobile insurance, therefore, this Court should
dismiss [the] action”); see also Griggs v. The Progressive Corp., No. CI 2003-200, slip. op. at 3
(Miss. Cir. Ct. May 18, 2004) (“Therefore, to the extent [p]laintiffs fraud claim is based upon a
mere concealment or nondisclosure of the lowest price [for insurance] by the Progressive
defendants, Plaintiff has failed to state a claim upon which relief can be granted”); Smith v. The
Progressive Corp., No. 2003-0078, slip. op. at 3 (Miss. Cir. Ct. May 14, 2004) (holding that

because “no fiduciary duty exists between a seller of insurance and a purchaser . . . there was no

12142980,1 14

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 15 of 19

affirmative duty on the part of the Defendants to disclose to the Plaintiff that she was not
receiving the lowest quote”).

The contract specifically discloses that better title insurance prices might be available
from non-affiliated entities:

You are NOT required to use the listed provider(s) as a condition for the

purchase, sale or refinance of the subject property. THERE ARE

FREQUENTLY OTHER SETTLEMENT SERVICE PROVIDERS

AVALIABLE WITH SIMILAR SERVICES. YOU ARE FREE TO

SHOP AROUND TO DETERMINE THAT YOU ARE RECEIVING

THE BEST SERVICES AND THE BEST RATE FOR THESE

SERVICES.
This provision makes clear that Plaintiff was made aware of the possibility that better prices
were available and also that Plaintiff bore the burden of investigating the availability of lower
prices for title insurance, including the availability of rebates Zlotnick v. Premier Sales Group,
Inc., 431 F. Supp. 2d 1290, 1295 (S.D. Fla. 2006) (no FDUTPA claim where the express terms
of the contract refuted claim that purchaser was misled); cf Fillmore v. Dept. of Pub. Utils., 257
N.E.2d 427, 428 (Mass. 1970) (“It is not unreasonable to place the burden on the customer to see
that he is getting the lowest rate to which he is entitled.”).

Plaintiff also alleges that WCI violated section 45(a) by making a false representation as
to the price of goods Plaintiff further alleges that a “misleading representation of price
constitutes a violation of 15 USC §45, even if offered price presents actual value of product and
purchaser is receiving their money’s worth” [sic]. Plaintiff is apparently referring to, and mis-
characterizing, the following well-established rule:

lt has long been considered a deceptive practice to state falsely that a
product ordinarily sells for an inflated price but that it is being offered at a

special reduced price, even if the offered price represents the actual value
of the product and the purchaser is receiving his money's worth.

12142980.1 15

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 16 of 19

F.T.C. v. Colgate-Palmolive Co., 380 U.S. 374, 387 (1965). In this quote, the United States
Supreme Court makes it clear that the statute prohibits a false mark-up, even if the purchaser still
receives the actual value of what he is purchasing Here, there are simply no allegations of a
mark-up. Plaintiffs FDUTPA claim against WCI must therefore be dismissed
c. WCI Is Not Liable For The Estimated Budget

Plaintiff also alleges that “WCI’s inclusion of an erroneous budget in its pre-closing
notice” is a violation of FDUTPA. However, the allegation that it was WCI that included any
budget received by Plaintiff is refuted by 1) Plaintiff s allegations paragraph 46 of the
Complaint, which states that “Resort/WCI included an updated estimate” budget and is clearly
based on Plaintiffs theory that Resort was operating as an agent or alter-ego of WCI, which fails
as a matter of law; and 2) the documents attached to the Complaint by Plaintiff, which indicate
that Plaintiffs transaction was with Resort only. Cf. Crystal v. Foy, 562 F.Supp. 422
(S.D.N.Y.1983) (dismissing complaint upon examining sources cited by plaintiff as containing
misrepresentations and finding that “[p]laintiffs own source repels her claim ...”).

C. The Contract Cannot Be Declared Void

As a general rule, “parties are free to ‘contract-out’ or ‘contract around’ state or federal
law with regard to an insurance contract, so long as there is nothing void as to public policy or
statutory law about such a contract.” Green v. Life & Health of America, 704 So.2d 1386,
1390 (Fla. 1998). The reason for this rule is that contracting parties may not “stipulate for
iniquity” and public welfare dictates that “each contract must have a lawful purpose.” Wechsler
v. Novak, 26 So.2d 884, 887 (Fla. 1946).

Public welfare does not demand that every contract that may run afoul of a particular

statute is entirely void. Rather, “a contract in violation of a statute, which statute does not

12142980.1 16

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 17 of 19

expressly declare such contract void, will be enforced unless there is some other indication
within the statute of legislative intent to invalidate such contract.” Talco Capital Corp. v.
Canaveral International Corp., 225 F.Supp. 1007 (S.D. Fla. 1965), ajf’d 344 F.2d 962 (5th Cir.
1965); see also Palm Bay tower Corp. v. Brooks, 466 So. 2d 1071 (Fla. 3d DCA 1985).
Therefore, a court will not declare a contract void where there is no indication, either in the
statute itself or in its legislative history, that the remedy for a violation of that statute is to void
contracts Trotter v. Forcl Motor Creclit Corp., 868 So. 2d 593, 594 (Fla. 2d DCA 2004).

In Trotter, 868 So. 2d at 594, a car purchaser sued the dealer who sold him the car and
the assignee of his financing contract, alleging that he was entitled to restitution of the amount he
paid under the financing contract. In support of his restitution claim, the purchaser asserted that
the financing contract was void under Florida’s public policy because it violated several statutes
Ia'. The Second District Court of Appeal held that the purchaser failed to state a claim for
restitution la'. The court reasoned that “[n]othing in the language of the Motor Vehicle Retail
Sales Finance Act, or in Florida case law, would render the entire finance contract void because
of the violation of chapter 520.” Ia'. The court pointed out that the plaintiffs could not
“circumvent their inability to state a cause of action against [the assignee of the financing
contract] merely by claiming any violation renders the contract void.” Id.

Here, Plaintiff claims that it has been damaged by WCI’s failure to return its deposit
because the contract was “void ab initio, as it was illegal under ILSA and FDUTPA.” Nothing
in ILSA, or its legislative history, or case law, indicates that the Congress intended that all
contracts that violate ILSA are void. Rather, ILSA provides very strict time limits on seeking a
remedy of rescission. Specifically, claims for rescission must be made within two years of the

execution of the sales contract. See e.g. 15 U.S.C. § 1703(0), (d). This demonstrates a

12142980.1 17

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 18 of 19

legislative intent to limit the remedy of declaring a contract void in violation of. ILSA to two
years from the time the purchase contract was signed. Plaintiff filed this action more than two
years after signing his contract with Resort and has not alleged that he timely asserted any right
of revocation under ILSA, Therefore, any alleged failure to comply with ILSA cannot render the
entire contract void, and Plaintiff is not entitled to the relief he seeks
Q(_)_N_C_I_-_U_S_I_Q.N_
WHEREFORE, WCI respectfully requests that the Court dismiss the Complaint with

prejudice and grant such other and further relief as the Court deems appropriate

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on September 11, 2007, l electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. l also certify that the foregoing document
is being served this day on all counsel of record or pro se parties identified on the attached
Service List in the manner specified, either via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner for those counsel or parties who are
not authorized to receive electronically Notices of Electronic Filing.

CARLTON FIELDS, P.A.

222 Lakeview Ave., Suite 1400
West Palm Beach, FL 33402-0150
(561) 659-7070 Telephone

(561) 659-7368 Facsimile

E-mail: jianno@carltonfields.com

By: /s/ Joseph Ianno, Jr.
Joseph Ianno, Jr.

Florida Bar No. 655351
Kathryn Christian
Florida Bar No. 27594

Attorneys for WCI Communities, Inc. and Resort at
Singer lsland Properties, Inc.

12142980.1 18

Case 9:O7-cV-80680-KLR Document 6 Entered on FLSD Docket O9/11/2007 Page 19 of 19

SERVICE LIST

James D. Ryan, Esq.

jdr@attyryans.com

Ryan & Ryan Attorneys, P.A.

631 U.S. Highway One, Suite 100

North Palm Beach, FL 33408

Telephone: (561) 841 3-420

Fax: (561) 841- 3424

Attorney for Plaintiff Infinity Global LLC

Timothy P. O’Neill, Esq.
tpo@attyryans.com

Ryan & Ryan Attorneys, P.A.

631 U.S. Highway One, Suite 100

North Palm Beach, FL 33408

Telephone: (561) 841-3420

Fax: (561) 841-3424

Attorney for Plaintiff lnfinity Global LLC

12142980.1 19

